                   UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION – DETROIT

IN THE MATTER OF:
 JOSEPH G. DUMOUCHELLE, and                         Bankruptcy Case No. 19-54531
 MELINDA J. ADDUCCI,                                        Hon. Lisa S. Gretchko
                   Debtors.                                             Chapter 7

THOMAS T. RITTER,                                           Adv. Pro. No. 20-04381
                            Plaintiff,                       Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCI,
                   Defendants.


                   REPORT OF PARTIES’ RULE 26(f) CONFERENCE

      Pursuant to Fed. R. Bankr. P. 7026 and Fed. R. Civ. P. 26(f), a conference was
held on August 31, 2022 and was participated in by:

      Jay L. Welford (P34471) on behalf of Plaintiff
      Patrick A. Foley (P74323) on behalf of Defendants

This is submitted as the required report of that conference.

      (1)    Initial Disclosures required by Fed. R. Civ. P. 26(a)(1).

             [X]   The parties will provide such by October 10, 2022; or

             [ ]   The parties agree to provide the following at the times indicated:


      (2)    Discovery Plan. The parties jointly propose to the Court the following
             discovery plan:

             (a)   Discovery will be needed on the following subjects: The allegations
                   contained in Plaintiff's complaint and defenses asserted in the
                   Defendants’ answer and affirmative defenses.


                                        Page 1 of 4
   20-04381-lsg    Doc 45    Filed 09/07/22 Entered 09/07/22 09:55:48    Page 1 of 4
        (b)    All discovery commenced in time to be completed by May 22,
               2023.

        (c)    Interrogatories:

               The parties agree:
               Maximum of 25 interrogatories by Plaintiff and 25 interrogatories
               from the Defendants. Responses due 30 days after service, plus 3
               days pursuant to Fed. R. Bankr. P. 9006(f) if service by U.S. Mail.

               Plaintiff Proposes:
               Additional wording: “This limitation does not apply to subparts.”
               Defendants Propose:
               Defendants disagree with Plaintiff, and believe the limitation
               should apply to subparts.

        (d)    Depositions:

               Plaintiff proposes:
               “There is no limitation on the number of depositions.”

               Defendant proposes:
               “Maximum of 4 depositions by Plaintiff and 4 by Defendants.”

        (e)    Each deposition limited to maximum of 3 hours unless extended by
               agreement of parties.

        (f)    Reports from retained experts under Rule 26(a)(2) due:
               from Plaintiff by March 27, 2023
               from Defendants by March 27, 2023

        (g)    Supplementations under Rule 26(e) shall be timely submitted
               within 14 days of discovery of the additional materials or
               information being the cause of the need to supplement. In the event
               that a disclosure is made after the close of discovery, or without
               adequate time remaining in the discovery period for the non-
               supplementing party to adequately investigate the claim, the parties
               shall stipulate to a suitable adjournment/extension of dates and
               deadlines, not less than 30 days, in order to provide said non-
               supplementing adequate time to investigate the disclosure. The non-


                                   Page 2 of 4
20-04381-lsg   Doc 45   Filed 09/07/22 Entered 09/07/22 09:55:48    Page 2 of 4
               supplementing party may file a motion if an agreement as to the
               extension/adjournment cannot be reached.

        (h)    Each of these limitations may be extended by written stipulation of
               the parties or by Order of the Court.

        (i)    Discovery of electronically stored information:

                        (1) This adversary proceeding does involve the discovery
                        of electronically stored information.

                        (2)     Pursuant to E.D. Mich. LBR 7026-4, the Model
                                Order Relating to the Discovery of Electronically
                                Stored Information approved by the District Court
                                will apply.

  (3)   Other Agreed Upon Items.

        (a)    Plaintiff is granted leave through, and the deadline is January 22,
               2023 to join additional parties and/or to amend the pleadings.

        (b)    Defendants are granted leave through, and the deadline is January
               22, 2023 to join additional parties and/or to amend the pleadings.

        (c)    All potentially dispositive motions should be filed by June 23,
               2023.

        (d)    The proceeding should be ready for trial by August 18, 2023. The
               trial is expected to take approximately 2 trial days.

        (e)    Jury Trial Matters.

               (i)      [ X ] a jury trial was not timely demanded and is waived; or

                        [     ] a jury trial was timely demanded, but is waived; or

                        [     ] a jury trial was timely demanded but not waived.

               (ii)     [ ] the parties consent to the Bankruptcy Court
                            conducting the jury trial; or


                                       Page 3 of 4
20-04381-lsg   Doc 45       Filed 09/07/22 Entered 09/07/22 09:55:48   Page 3 of 4
                           [ ]   the parties do not at this time consent to the
                                 Bankruptcy Court conducting the jury trial.

            (f)   The parties agree that:

                  [ X ] This is a core proceeding; or

                  [     ] This is a non-core proceeding otherwise related to the
                          bankruptcy case.

            (g)   [ X ] The parties consent to the Bankruptcy Court entering a final
                        order or judgment in this proceeding; or

                  [     ] The parties do not consent to the Bankruptcy Court entering
                          a final order or judgment in this proceeding.

      (4)   Other matters.
                  None.

      (5)   Matters not agreed upon or insufficiently addressed by the foregoing.
                  None.


Respectfully submitted,

JAFFE, RAITT, HEUER & WEISS, P.C.           JOHN R. FOLEY, P.C.
Counsel for Plaintiff                       Counsel for Defendants

By: /s/ Jay L. Welford___________           By: /s/ Patrick A. Foley
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Date: September 7, 2022                     Date: September 7, 2022




                                        Page 4 of 4
   20-04381-lsg   Doc 45     Filed 09/07/22 Entered 09/07/22 09:55:48   Page 4 of 4
